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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 17-cv-00487-CBS

 WELLES TONJES,

        Plaintiff,

 v.

 THE PARK COUNTY SHERIFF'S OFFICE;
 FRED WEGENER, in his individual capacity; and
 MARK HANCOCK, in his individual capacity,

        Defendants,


      ORDER OF DISMISSAL WITH PREJUDICE OF DEFENDANT PARK COUNTY
                            SHERIFF’S OFFICE


        Upon review of the Parties’ Stipulation of Dismissal with Prejudice of Defendant

 Park County Sheriff’s Office, the Court hereby ORDERS the dismissal, with prejudice,

 of Defendant Park County Sheriff’s Office, with each Party bearing his or its own

 respective attorney fees and costs.



        Dated this ______ day of _________, 2018.


                                                BY THE COURT:




                                                Magistrate Judge Kelly H. Rankin
